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                                                          Status Conference: December 5, 2022 at 5:00 p.m. (ET)


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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
WYTHE BERRY FEE OWNER LLC,                            :   Case No. 22-11340 (MG)
                                                      :
                                  Debtor.             :
                                                      :
------------------------------------------------------x


       NOTICE OF STATUS CONFERENCE REGARDING DISCOVERY DIPUTE

        PLEASE TAKE NOTICE that, the Court has scheduled a status conference for

December 5, 2022 at 5:00 p.m. prevailing Eastern Time (the “Status Conference”) in the above-

captioned case.

        PLEASE TAKE FURTHER NOTICE that due to the COVID-19 pandemic, the Status

Conference will be conducted using Zoom for Government. Parties should not appear in person

and those wishing to appear or participate at the Status Conference (whether “live” or “listen only”)

must make an electronic appearance prior to the Status Conference by using the following link:

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.               Instructions     for    making      an
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eCourtAppearance and additional information on the Court’s Zoom procedures can be found at

https://www.nysb.uscourts.gov/content/chief-judge-martin-glenn.



 Dated: November 18, 2022                Respectfully Submitted
        New York, New York

                                         /s/ Nicholas A. Bassett
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